JS 44C/SDNY Case 1:24-cv-03973 Degunedyvertalaeego/23/24 Page 1 of 2

REV.

10/01/2020 The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by law, except as provided by local rules of court. This form, approved by he Judicial Conference of the
United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.

PLAINTIFFS DEFENDANTS

United States of Amenca Live Nation Entertainment, Inc. and Ticketmaster L.L.C.

ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER
Bonny Sweeney, United States Department of Justice, Antitrust Division

450 5th Street NW, Washington, DC 20530

ATTORNEYS (IF KNOWN)
Kelly Fayne, Latham & Watkins
505 Montgomery Street, Suite 2000, San Francisco, CA 94111

(202) 702-0537 (415) 646-7897
CAUSE OF ACTION (CITE THE U_S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE)
(DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)
Sherman Act, 15 U.S.C. § 1-2. Monopolization of ticketing and promotions services across the live entertainment industry.
Judge Previously Assigned
Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? No f]Yes[]
If yes, was this case Vol.[_] Invol. [_] Dismissed. No[_] Yes [ ] Ifyes, give date & Case No.
Is THIS AN INTERNATIONAL ARBITRATION CASE? No [x] Yes [ |
(PLACE AN [x] IN ONE BOX ONLY) NATURE OF SUIT
TORTS ACTIONS UNDER STATUTES.
CONTRACT PERSONAL INJURY PERSONAL INJURY FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
[ ]367 HEALTHCARE/ 375 FALSE CLA MS
[ ]110 INSURANCE [ ]310 AIRPLANE PHARMACEUTICAL PERSONAL | ] 625 DRUG RELATED [ ]422 APPEAL U
[ ]120 MAR NE [ 1315 AIRPLANE PRODUCT NJURY/PRODUCT LIABILITY ceisypr oF PROPERTY 28 USC 158 [ 1376 QUITAM
[ ]130 MILLER ACT LIAB LITY [ ]365 PERSONAL INJURY 21 USC 881 [ 1423 WITHDRAWAL [ ]400 STATE
[ ]140 NEGOTIABLE [ ]320 ASSAULT, LIBEL & PRODUCT LIABILITY 5) 6a9 OTHER 28 USC 157 REAPPORTIONMENT
INSTRUMENT SLANDER [ ]368 ASBESTOS PERSONAL [xf 410 ANTITRUST
[ ]150 RECOVERY OF ~—_[ ] 330 FEDERAL NJURY PRODUCT [ ]430 BANKS & BANKING
OVERPAYMENT & EMPLOYERS’ LIAB LITY PROPERTY RIGHTS [ 1450 COMMERCE
ENFORCEMENT LIAB LITY [ ]460 DEPORTATION
OF JUDGMENT __[ ] 340 MARINE PERSONAL PROPERTY [ ]820 COPYRIGHTS [ ]880 DEFEND TRADE SECRETS ACT [ ] 470 RACKETEER INFLU-
[ ]151 MEDICARE ACT _[ ]345 MARINE PRODUCT [ 1830 PATENT ENCED & CORRUPT
[ ]152 RECOVERY OF LIAB LITY [ ]370 OTHER FRAUD ORGANIZATION ACT
Be cAUE TED [1380 MOTOR VEHICLE [ 1371 TRUTH IN LENDING [ 1835 PATENT-ABBREVIATED NEW DRUG APPLICATION cc
STUDENTLOANS — [ ]355 MOTOR VEHICLE [ ] 840 TRADEMARK [ ]480 CONSUMER CREDIT
(EXCL VETERANS) PRODUCT LIABILITY SOCIAL SECURITY
[1153 RECOVERY OF _[ ]360 OTHER PERSONAL [ 1485 TELEPHONE CONSUMER
OVERPAYMENT NJURY [ ] 380 OTHER PERSONAL LABOR [ 1864 HIA (1395¢f) PROTECTION ACT
OF VETERAN'S [ ]362 PERSONAL INJURY - PROPERTY DAMAGE [ ]862 BLACK LUNG (923)
BENEFITS MED MALPRACTICE [ ]385PROPERTYDAMAGE =[ ]710 FARLABOR [ ]863 DIWCIDIWW (405(g)) [ ]490 CABLE/SATELLITE TV
[ 1160 STOCKHOLDERS PRODUCT LIABILITY STANDARDS ACT [ ]864 SS D TITLE XVI [ ] 850 SECURITIES!
SUITS [ 1720 LABOR/MGMT [ 1865 RSI (405(g)) COMMODIT Esr
[ ]190 OTHER PRISONER PETITIONS RELATIONS EXCHANGE
CONTRACT [ ]463 AL EN DETAINEE [ 1740 RAILWAY LABOR ACT
[ ]195 CONTRACT [ ]510 MOTIONS TO: [] 751 FAMILY MEDICAL FEDERAL TAX SUITS [1890 neTIONS ATUTORY
PRODUCT ACTIONS UNDER STATUTES VACATE SENTENCE 1 eave ACT (FMLA)
LIABILITY 28 USC 2255 [ ]870 TAXES (U.S. Plaintiffor [1 891 AGRICULTURAL ACTS
[ ]196 FRANCHISE CIVIL RIGHTS. [ ]530 HABEAS CORPUS [ ]790 OTHER LABOR Defendant) [ 1893 ENVIRONMENTAL
[ ]535 DEATH PENALTY LITIGATION [ ]871 IRS-THIRD PARTY MATTERS
[ ]540 MANDAMUS & OTHER _[ ] 791 EMPL RET NC 26 USC 7609 [ ] 895 FREEDOM OF
[]440 OTHER CIVIL RIGHTS SECURITY ACT (ERISA) INFORMATION ACT
(Non-Prisoner)
REAL PROPERTY [ ] 896 ARBITRATION
[ 1441 VOTING IMMIGRATION [ ] 899 ADMINISTRATIVE
[ ]210 LAND [ ]442 EMPLOYMENT PRISONER CIVIL RIGHTS PROCEDURE ACTIREVIEW OR
CONDEMNATION _ [ ]443 HOUSING/ [ ]462 NATURALIZATION APPEAL OF AGENCY DECISION
[ ]220 FORECLOSURE [44s ACCOMMODATIONS [ ] 550 CIV LRIGHTS APPLICATION
[ 1230 RENT LEASE & [ ]555 PRISON CONDITION —__[ ] 465 OTHER MMIGRATION 950 CONSTITUTIONALITY OF
EJECTMENT DISAB LITIES - [ ] 560 CIV L DETAINEE ACTIONS Oe STATUTES
[ 1240 TORTS TO LAND EMPLOYMENT CONDITIONS OF CONFINEMENT
[ 1245 TORTPRODUCT [1446 AMERICANS WITH
LIABILITY DISAB LITIES -OTHER
[ ]290 ALL OTHER [ ]448 EDUCATION
REAL PROPERTY

Check if demanded in complaint:
DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S._D.NLY.

AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13°
IF SO, STATE:

CHECK IF THIS IS ACLASS ACTION
UNDER F.R.C.P. 23

DEMAND $ OTHER JUDGE DOCKET NUMBER

Check YES only if demanded in complaint

JURY DEMAND: &l yes CNo NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form IH-32).
Case 1:24-cv-03973 Document 2 Filed 05/23/24 Page 2 of 2

(PLACE AN x IN ONE BOX ONLY) ORIGIN
‘ti - Multidistrict Appeal to District
[x] 1 Original Ll2 Removed from L|3 pemanded L|4 Reinstated o [L]5 (Speetty District) U6 Litigation C7 Judge from
g ate Cou Eopene (Transferred) Magistrate Judge

Appellate
[| a. all parties represented Court

[| b. At least one party

(18 Muttidistrict Litigation (Direct File)

is pro se.
(PLACE AN x IN ONE BOX ONLY) BASIS OF JURISDICTION IF DIVERSITY, INDICATE
[x] 1 U.S. PLAINTIFF [[]2 U.S. DEFENDANT [_] 3 FEDERAL QUESTION 1/4 DIVERSITY CITIZENSHIP BELOW.

(U.S. NOT A PARTY)

CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)

(Place an [X] in one box for Plaintiff and one box for Defendant)

PTF DEF PTF DEF PTF DEF

CITIZEN OF THIS STATE [11 [11 CITIZEN OR SUBJECT OF A [13[]13 INCORPORATED and PRINCIPAL PLACE []5 []5
FOREIGN COUNTRY OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE []2 []2 INCORPORATED or PRINCIPALPLACE []4[]4 FOREIGN NATION [16 [16

OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY (IES)
United States of America

U.S. Department of Justice, Antitrust Division
450 Fifth Street NW, Suite 4000
Washington, DC 20530

DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)

Live Nation Entertainment, Inc.
9348 Civic Center Drive, Beverly Hills, CA 90210

Ticketmaster L.L.C.
9348 Civic Center Drive, Beverly Hills, CA 90210

DEFENDANT(S) ADDRESS UNKNOWN

REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, | HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:

COURTHOUSE ASSIGNMENT
| hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21.

Check one: THIS ACTION SHOULD BE ASSIGNED TO: L_] WHITE PLAINS [x] MANHATTAN

/si Bonny Sweeney

DATE 05/23/2024 ADMITTED TO PRACTICE IN THIS DISTRICT
SIGNATURE OF ATTORNEY OF RECORD [x] NO
[ ] YES (DATE ADMITTED Mo. Yr. )
RECEIPT # Attomey Bar Code #

Magistrate Judge is to be designated by the Clerk of the Court.

Magistrate Judge is so Designated.

Ruby J. Krajick, Clerk of Court by Deputy Clerk, DATED

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)
